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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 MAYAGÜEZ S.A.,

                Plaintiff,

        -against-                                     Case No. 16 Civ. 06788 (PGG) (JLC)

 CITIBANK, N.A. and CITIGROUP, INC.,

                Defendants.

                     ORDER REGARDING DELIVERY
       AND INSTALLATION OF TECHNOLOGICAL EQUIPMENT FOR TRIAL

               IT IS HEREBY ORDERED that Defendant Citibank, N.A., is authorized to use

the technological equipment listed in Appendix A for the duration of the trial in the above-

captioned matter scheduled to begin on August 22, 2022 (the “Trial”); and it is further

               ORDERED that Clinton Lam and Stu Lucero of Impact Trial Consulting, LLC

shall be permitted to enter the Thurgood Marshall Courthouse, 40 Foley Square, New York, NY

10007 on August 19, 2022 at 12:00 PM to install in Courtroom 705 the technological equipment

listed in Appendix A; and it is further

               ORDERED that two of the five Aquipt, Inc., employees identified on

Appendix B, using one or more of the vehicles listed in that appendix, shall be permitted on

Friday, August 19, 2022 to access the Courthouse’s freight entrance and deliver to

Courtroom 705 the technological equipment listed in Appendix A; and it is further

               ORDERED that upon completion of the trial, two of the five Aquipt, Inc.,

employees identified on Appendix B shall be permitted to access Courtroom 705 to remove the

installed technological equipment.
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Dated: August 18, 2022                         SO ORDERED:
       New York, New York


                                                The Honorable Paul G. Gardephe
                                                  United States District Judge




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                                       APPENDIX A

Equipment                                                               Quantity

Small portable folding tech tables                                      2

Compact library cart                                                    3

22” Monitors                                                            2

Extron HDMI Switch                                                      1

HP Printer and toner                                                    1

Cabling and Wiring (including HDMI wiring, audio wiring, power          Bulk
strips, and extension cords)

Gaffers Tape (for installation of cables and wiring)                    Bulk




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                                     APPENDIX B

Names of Aquipt, Inc., Employees

      (1) Jeremy Coley

      (2) Robert Emmett Donahue

      (3) Connor John Gibbons

      (4) James X Lamar

      (5) Joshua Alexander Urofsky

Vehicle Information

  Vehicle Type                                  State of Tag/Plate    Tag/Plate No.

  2019 Chevy Express G2500                      Pennsylvania          ZMZ2828

  2017 Express G2500                            Pennsylvania          ZKW3693

  2001 ISU NPR (Box Truck)                      Pennsylvania          YBR4451

  2017 Express G2500                            Pennsylvania          ZJT4462

  2005 Honda ELEMENT/LX                         Pennsylvania          GCC5346

  2006 Express G2500                            Pennsylvania          YSD1393

  2016 Express G2500                            Pennsylvania          ZHR9612

  2017 Express G2500                            Pennsylvania          ZJT4461

  2022 Express G2500                            Pennsylvania          ZTR4163

  2021 Chevrolet Express Cargo Van 2500         Pennsylvania          ZSE4759




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